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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                West Palm Beach Division
                                      Case No. _____________

   ISAAC SCHARF, DANIELLE SCHARF,                       )
   EDWARD SCHARF, ALEX SCHARF, C.S.,                    )
   a minor by and through his parent Isaac              )
   Scharf, H.S., a minor by and through his             )
   parents Isaac Scharf and Danielle Scharf, and        )
   R.S., a minor by and through her parents Isaac       )
   Scharf and Danielle Scharf                           )
                                                        )
                  Plaintiffs,                           )
                                                        )
          v.                                            )
                                                        )
   BOCA GROVE PROPERTY OWNER’S                          )
   ASSOCIATION, INC.                                    )
                                                        )
                  Defendant.                            )
                                                        )
                                                        )

                                           COMPLAINT

         Plaintiffs Isaac Scharf, Danielle Scharf, Edward Scharf, Alex Scharf, C.S., H.S., and R.S.

  (together, “Plaintiffs” or the “Scharfs”) hereby sue Defendant Boca Grove Property Owner’s

  Association, Inc. (“Boca Grove”) as follows:

                                         INTRODUCTION

         1.      Boca Grove is a prestigious country club community that—to the dismay of some

  influential residents—has become home to an increasing number Orthodox Jews. Boca Grove

  discriminated against and punished one such Orthodox Jew, Isaac Scharf. His crime? He had the

  audacity to assist a famous Instagram personality wrap tefillin during a round of golf. Boca Grove

  concluded that wrapping tefillin was an “offensive religious practice.” But it gets worse. Not only

  did Boca Grove suspend Isaac from using all community services (including the use of his



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  vehicle’s auto transponder) for wrapping tefillin, it suspended his wife and his five kids—even his

  one-year-old daughter was slapped with a 90-day suspension.

         2.      Plaintiff Isaac Scharf and his wife and three children, Plaintiffs Danielle, C.S., H.S.,

  and R.S., are full-time residents of Boca Grove, a planned community in Boca Raton that is

  operated and maintained by Defendant Boca Grove. Isaac’s two young-adult sons, Plaintiffs

  Edward and Alex Scharf, are permanent residents of the Scharf household in Boca Grove who are

  temporarily studying in Israel.

         3.      While Boca Grove has had Orthodox Jewish members for decades, its Orthodox

  population has increased dramatically since 2020, when the Scharfs and many other Orthodox

  families began moving to the community from other states in response to the Covid-19 pandemic.

         4.      The large increase in Boca Grove’s Orthodox population has been met with a

  backlash by virulently anti-Orthodox members of the community, including many on its board of

  directors. Even as Boca Grove has taken steps to offer kosher amenities and events for the benefit

  of its large Orthodox population, there have been efforts by anti-Orthodox board members to make

  the community unwelcome to Orthodox families and drive them away to preserve the character of

  the community.

         5.      These efforts have included changing the community’s rules and practices to make

  it more difficult and dangerous for Orthodox families to walk to synagogue on Shabbat and Jewish

  holidays, cancelling kosher amenities and dining options, and mistreating Orthodox members in

  Boca Grove’s grievance process, with Orthodox members punished more harshly than their non-

  Orthodox peers.

         6.      The entire Scharf family has been caught in the crossfire of this anti-Orthodox

  campaign.




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         7.      In December 2024, Plaintiff Isaac Scharf invited a Jewish golf influencer, Jake

  Adams, to Boca Grove for a round of golf. Adams is well-known in both the Jewish and golf

  communities and has a hilarious video series rating “Jewish country clubs.” Adams joined Isaac

  and several of Isaac’s Orthodox friends for a round of golf and some kosher food, with the

  knowledge, participation, and apparent excitement of Boca Grove’s staff. During the visit and with

  Boca Grove staff’s help, Adams recorded snippets of the group golfing and eating meals and of a

  moment when Isaac helped Adams wrap tefillin and recite some Jewish prayers at Boca Grove’s

  clubhouse.

         8.      When Adams released a short video of his visit to Boca Grove in January 2025, in

  which he rated Boca Grove a 9.2/10 Jewish country club, the Board’s anti-Orthodox members were

  furious. They were enraged that Adams’ video brought attention to Orthodox Jewish life at Boca

  Grove and made the community look inviting and welcoming to Orthodox Jews, thus interfering

  with their goal of driving the Orthodox community away and reducing its visibility. They swiftly

  moved to pretextually punish Isaac and all members of the golf outing for an “offensive social

  media video” that contained “references to religious practices that have been deemed offensive to

  a reasonable person.” The Board did this despite Isaac explaining the video’s overwhelmingly

  positive reception, Isaac’s and Adams’ positive intentions, Isaac having no control over the content

  of the video, and Adams’ offer to edit or clarify his post about the Boca Grove review to address

  any of the Board’s concerns.

         9.      The Board imposed a 90-day suspension on Isaac, banning him from all the

  community’s amenities and events. The punishment was subsequently ratified by Boca Grove’s

  hearing committee at a hearing in which Isaac was denied all of his proposed witnesses, board

  members appeared to improperly interfere with the final result, and Isaac was informed that the




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  Board was punishing him because Adams’s “offensive social media video” had offended anti-

  Orthodox members of the community and the Board through its positive portrayal of Orthodox

  Jewish life at Boca Grove. During the hearing, Isaac was directly told that the “reference to

  religious practices” that the Board had deemed “offensive to a reasonable person” was the image

  of Isaac helping Adams wrap tefillin at the clubhouse, and that the Board was punishing him not

  because Adams’ video was offensive to Jews who wrap tefillin, but that the sight of Jews wrapping

  tefillin at the clubhouse was itself offensive to the anti-Orthodox members of the community and

  the Board who despised their presence. The hearing made clear that Isaac was targeted and

  punished for being visibly Orthodox at Boca Grove’s clubhouse.

         10.     Without notice or process, the Board subsequently extended the suspension to

  Isaac’s entire family. Because of certain board members’ vicious antipathy to Orthodox Jews,

  Isaac’s wife, Plaintiff Danielle Scharf, and five children, Plaintiffs Edward, Alex, C.S., H.S., and

  R.S., have all been banned from Boca Grove’s amenities, events, and social life. The Scharf family

  members had nothing to do with the video or the incident – they were punished anyway.

         11.     The effect of the suspension has been devastating on the Scharf family. They have

  lost their community, their social lives, and their sense of belonging in their own neighborhood

  and home. They feel unwelcome and like they have a target on their back as Orthodox Jews in a

  community run by people who despise them for their faith.

         12.     As a result of Defendant Boca Grove’s discriminatory anti-Orthodox interference

  with Plaintiffs’ right to enjoy their community and its amenities, Plaintiffs have suffered mental

  and emotional harm and financial costs for which Boca Grove is liable.




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                                    JURISDICTION AND VENUE

          13.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

  claims pursuant to the Fair Housing Act (42 U.S.C. § 3601 et seq.) arise under the laws of the

  United States.

          14.      This Court has personal jurisdiction over Boca Grove because it is based in and

  operates out of Palm Beach County.

          15.      Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

  events giving rise to the claims occurred in this judicial district.

                                                PARTIES
          16.      Plaintiff Isaac Scharf (“Isaac”) is the husband of Plaintiff Danielle Scharf and the

  father of Plaintiffs Edward Scharf, Alex Scharf, C.S., H.S., and R.S.. He is an Orthodox Jew who

  lives in Boca Grove and is a dues-paying member of Boca Grove on behalf of his family. Isaac is

  an upstanding member of the community who, prior to the events described in this Complaint, has

  never been the subject of any grievance within Boca Grove nor been accused of violating any of

  its rules. He is a dedicated member of Boca Grove’s Architectural Control Committee and assists

  with the maintenance of community standards.

          17.      Plaintiff Danielle Scharf (“Danielle”) is the wife of Plaintiff Isaac Scharf and the

  mother of Plaintiffs H.S. and R.S.. She is an Orthodox Jew who lives in Boca Grove and is a

  member of Boca Grove. Danielle is well-regarded within Boca Grove’s community and is a leader

  in arranging social events among its members. She is a devoted full-time mother and an interior

  designer who manages the family’s household and leads its religious life.

          18.      Plaintiff C.S. is the 14-year-old son of Plaintiff Isaac Scharf. He is an Orthodox Jew

  who lives with his father in Boca Grove and is a member of Boca Grove through him. He is




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  respectful, rules-abiding, and considerate, and has never been the subject of any complaint within

  the community prior to the events described in this Complaint.

         19.     Plaintiff H.S. is the 5-year-old son of Plaintiffs Isaac and Danielle Scharf. He is an

  Orthodox Jew who lives with his parents in Boca Grove and is a member of Boca Grove through

  them. He is a sweet, happy, and social young boy who, prior to the events described in this

  Complaint, prospered from the social activities and events afford by the community.

         20.     Plaintiff R.S. is the 1-year-old infant daughter of Plaintiffs Isaac and Danielle

  Scharf. She lives with her parents in Boca Grove and is a member of Boca Grove through them.

         21.     Plaintiff Alex Scharf (“Alex”) is the 18-year-old son of Plaintiff Isaac Scharf. He is

  an Orthodox Jew who is temporarily visiting Israel for his studies but whose permanent home and

  domicile is the Scharf household in Boca Grove.

         22.     Plaintiff Edward Scharf (“Edward”) is the 22-year-old son of Plaintiff Isaac Scharf.

  Like his brother Alex, he is an Orthodox Jew who is temporarily visiting Israel for his studies but

  whose permanent home and domicile is the Scharf household in Boca Grove.

         23.     Defendant Boca Grove is a homeowners’ association and Florida corporation that

  operates and maintains Boca Grove, a planned residential community in Boca Raton, Florida. It is

  led by a board of directors elected from among Boca Grove members. Boca Grove operates and

  maintains amenities on the Boca Grove property, including a golf course, tennis courts, clubhouse,

  fitness facilities, a pool, dining options, and community events that are available for use by

  members of Boca Grove. Membership in Boca Grove and payment of associated dues is required

  for residents of Boca Grove. Boca Grove is subject to the Fair Housing Act.




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                                                FACTS

     I.         Boca Grove has an ongoing problem with discrimination against its growing
                Orthodox Jewish community.

          24.      Boca Grove is a residential development in west Boca Raton run and operated by

  Defendant Boca Grove. The community is built around Boca Grove’s clubhouse and associated

  country-club-style amenities (the “Club”) located at the heart of the development. The Club is a

  primary draw for residents to move to Boca Grove and become members of Boca Grove.

          25.      Since 2020, the Orthodox Jewish population within Boca Grove has grown

  tremendously, with many Orthodox families moving to the community because of its amenities,

  including occasional kosher events and dining options, its proximity to a nearby Orthodox

  synagogue, kosher restaurants, and Jewish schools, and the general reputation of Boca Raton as a

  having a strong religious Jewish community.

          26.      The growth of Boca Grove’s Orthodox Jewish community has had a mixed and

  contentious reaction among non-Orthodox members, though it has indisputably been of extreme

  financial benefit to Boca Grove and the homeowners already living in Boca Grove. Prior to the

  interest in Boca Grove from the many Orthodox families moving to the area, home values were

  much lower, Boca Grove charged lower annual fees, and Boca Grove often struggled financially

  to maintain its operations—in some years, operating at marked deficits. As Orthodox families

  moved to Boca Grove in large numbers starting in 2020, home values increased multiple times

  over, with many homes that previously sold for less than $300,000 now selling for millions of

  dollars. Boca Grove was repeatedly able to increase its membership fees due to the influx of new

  Orthodox residents. Boca Grove was taken from deficits to surpluses, able to not only maintain

  operations but expand them and provide greater value to new and existing members.




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         27.     As Orthodox families moved in and increased Boca Grove’s fortunes, the

  demographic composition of the Boca Grove community changed to the point that, on information

  and belief, roughly 40% of the homes in the community are owned by Orthodox families and 50%

  or more of the community’s members are Orthodox. As this change occurred, Boca Grove began

  to offer more amenities that its Orthodox members could enjoy. As a matter of Jewish law, the

  Orthodox community is fastidiously dedicated to observing Jewish dietary laws by eating only

  kosher food. This meant that Boca Grove’s large Orthodox community was unable to partake in

  the Club’s dining amenities and social events where food was served. This left the Orthodox

  members paying full dues for amenities they could not participate in fully.

         28.     As a result, the Orthodox community worked with Boca Grove’s management to

  arrange for kosher dining options and events at the Club. Over time, the Club introduced monthly

  kosher dinners and community events, occasional kosher food truck service by the Club’s pool,

  and allowed members to arrange to bring in kosher food for their events and gatherings.

         29.     But the arrival of Orthodox families and Boca Grove’s arrangements for kosher

  dining and community events to make them feel welcome has been met with backlash by certain

  elements within the community, including many of Boca Grove’s current and former board

  members. These anti-Orthodox members and board members have been antagonistic to and

  disdainful of the Orthodox families moving into the community. A culture of anti-Orthodox

  sentiment has thus developed within Boca Grove and in the leadership of Boca Grove.




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           A. Boca Grove’s Board has taken actions to make its Orthodox members feel
              unwelcome and to discourage more Orthodox families from moving in.

           30.     Anti-Orthodox members of the community have banded together in the last several

  years to lead initiatives to cancel or diminish the Club’s kosher amenities and make Boca Grove

  unwelcome to Orthodox Jews in the hope of discouraging further Orthodox families from moving

  in and pushing existing Orthodox families to leave or cease enjoying the community’s offerings.

           31.     In 2020, within weeks of the Scharfs moving to Boca Grove, one of Boca Grove’s

  former board members harassed Plaintiff Danielle Scharf on Shabbat while she was walking to

  synagogue with her then-infant child, Plaintiff H.S., sticking his phone near her face and recording

  her and yelling at her because she and H.S. were visibly Orthodox.

           32.     In 2021, a non-Orthodox community member who was close to several anti-

  Orthodox board members put together a public statement declaring that Boca Grove should never

  offer full kosher dining options and that it was an avowedly secular community in which Orthodox

  Jews should know their place and be grateful for a limited set of kosher food options. 1 This member

  claimed to have collected a litany of supporting comments for his anti-Orthodox declaration from

  other members of the community and shared them with Boca Grove’s Board. 2 The comments he

  presented included conspiratorial and hateful accusations against the Orthodox community,

  claiming that they would inevitably try to have the golf course shut down on Shabbat, that

  Orthodox Jews always ruin communities when they move to them, and that all kosher amenities

  should be canceled to drive the Orthodox members away, including even the unobtrusive

  occasional kosher food truck visits near the Club’s pool.




  1
      Exhibit A.
  2
      Exhibit B.


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             33.    This discriminatory campaign targeting Boca Grove’s Orthodox community was

   not punished by the Board. Though Rule 3 of Boca Grove’s Rules and Regulations 3 requires all

   members to act with civility and respect for other members and Boca Grove staff and to avoid

   conduct that would offend a reasonable person—and despite the Board being willing to wield this

   rule profligately against Orthodox members for flimsy or nonexistent reasons, including against

   Plaintiff Isaac Scharf as described later in the Complaint—neither the member who put together

   this statement nor any of the members behind the most hateful and bigoted comments he gathered

   were punished by the Board.

             34.    Over the last several years, Boca Grove’s Board has taken deliberate actions to

   make life in Boca Grove uncomfortable and unwelcoming for Orthodox Jews to diminish the

   community’s appeal for Orthodox families.

             35.    In 2022, former board president Mark Gilman pushed the Board into changing its

   policy of allowing members to walk along the 15th hole of the golf course on Shabbat and Jewish

   holidays and along the course generally during the evening for the specific purpose of making life

   more difficult for Orthodox Jews. Due to Jewish law’s restrictions on vehicle use during Shabbat

   and religious holidays, Orthodox families walk on foot during these times. Because of safety

   concerns from the South Florida sun and heat and from car traffic, the ability to walk along the

   15th hole and along the golf course in the evening was a thoughtful consideration that enabled

   Orthodox members to safely, quickly, and comfortably walk to synagogue and other destinations

   on these occasions. These permissions had been in place for years as an accommodation to

   Orthodox members that all members could enjoy. The Scharfs and many Orthodox members were

   sold their homes by now-board member Richard Buch on the premise that these routes were



   3
       Exhibit C at 8.


                                                   10
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   available for families to use to walk to synagogue. Buch went so far as to help Orthodox

   prospective buyers time the walk from the homes they were interested in buying to the synagogue

   using the path as part of his strategy for closing sales. To spite the growing Orthodox community

   and systematically impair their enjoyment of Boca Grove and its appeal to Orthodox members,

   Gilman led the Board in removing these permissions. Gilman himself was open in his bigotry

   against Orthodox members. In one conversation with a community member who mentioned that

   another Orthodox family was buying a home in Boca Grove, Gilman disdainfully responded, “Oh,

   like we need another one of those here.”

          36.     Similarly, for years Orthodox families within Boca Grove have walked along a path

   by the 14th hole on the golf course to get to synagogue during Shabbat and Jewish holidays. The

   path shortened the commute to and from synagogue for many families, provided shade from the

   sun and heat, and made it easy for families with young children and babies in strollers to walk

   safely by keeping off the roads. This convenience is one of the factors that made Boca Grove

   appealing to Orthodox families, who need to walk to and from synagogue with their children at

   least once a week. Based on the position of the path relative to the golf course, injuries did not

   occur from people walking along the path while golfers played the course, nor were they likely to.

          37.     In 2024, the Board’s anti-Orthodox members and now-board member Larry Cohen,

   who at the time led Boca Grove’s golf committee, decided to again spite Boca Grove’s Orthodox

   community and try to make the community unappealing to them by passing a resolution to rip up

   this walking path so Orthodox families would be forced to take a longer and more dangerous route

   to synagogue that was exposed to the sun and heat. Numerous safety concerns have been raised

   about this plan, as it would force families to cross the street six different times along one of Boca

   Grove’s busiest roads to get to synagogue and poses minimal benefit, if any, to the community at




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   large. The project is a waste of members’ fees to make a change that is obviously unnecessary for

   the purpose of harassing the Orthodox community. Boca Grove is currently in the process of

   ripping apart the path, causing massive disruption to Orthodox families.

            38.     Boca Grove’s current and recent board members have repeatedly expressed

   discriminatory animus against Boca Grove’s Orthodox community. Richard Buch is on Boca

   Grove’s Board and is one of Boca Grove’s most prominent real estate brokers. After personally

   profiting from the large initial movement of Orthodox families to Boca Grove, he is now one of

   the Board’s most anti-Orthodox members. Numerous real estate agents and potential buyers in

   recent years have experienced Buch making false and targeted statements to visibly Orthodox

   families looking to buy a home in Boca Grove with the intent of dissuading them from looking in

   the community, including statements echoing the 2021 discriminatory declaration against the

   Orthodox community, such as, “There will never be a kosher kitchen in Boca Grove.” Buch has

   also expressed his anti-Orthodox bigotry freely within the community, openly stating to other

   members, “These Orthodox are such a thorn in my back.”

            39.     In advance of Boca Grove’s 2025 board elections, a retiring board member who

   had served for seven years, Jim Perilstein, reflected his and other board members’ anti-Orthodox

   intentions in an email to the community in which he gave thinly-veiled encouragement to limiting

   the representation of the Orthodox community on the Board and limiting the accommodations

   made so Orthodox members could participate in amenities. 4 He then endorsed two anti-Orthodox

   board members for re-election, Brandon Rippo and Larry Cohen—both of whom were elected.




   4
       Exhibit D.


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       B. Boca Grove’s Board has abused Boca Grove’s grievance process to punish Orthodox
          members more severely than non-Orthodox members.

          40.     Boca Grove’s Board and management have discriminated against Orthodox

   members directly through Boca Grove’s grievance process, repeatedly imposing severe

   punishments on Orthodox members for anodyne and minor conduct while giving lesser

   punishments to non-Orthodox members for egregious and unlawful behavior.

          41.     The Board’s discriminatory over-punishment of Orthodox members compared to

   non-Orthodox members is part of Boca Grove’s deliberate effort to make the Orthodox community

   feel unwelcome, and the Board has staffed Boca Grove’s hearing committee for that purpose.

   Under Florida law and Boca Grove’s Amended By-Laws, the Board is required to appoint a hearing

   committee composed of three Boca Grove members who are neither on the Board nor related to

   board members. 5 The hearing committee’s role is to review grievance punishments imposed by the

   Board and determine whether to approve them or reject them either entirely or until a more

   appropriate punishment is proposed. 6 A grievance punishment imposed by the Board cannot go

   into effect until approved by the hearing committee. 7

          42.     For at least the last three years, the only constant member of the hearing committee

   has been Randy Miller, an anti-Orthodox community member who is friends with the anti-

   Orthodox board members and was hand-picked by them to serve their discriminatory interests on

   the hearing committee. Miller was chosen for the hearing committee so that these anti-Orthodox

   board members would reliably be able to impose harsh and disproportionate punishments against




   5
     Exhibit E at 95.
   6
     Id.
   7
     Id.


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   Orthodox members. Together, the Board and Miller have misused the grievance process as part of

   their campaign to drive Orthodox Jews away from Boca Grove.

          43.     In 2022, the Board punished Orthodox community member Jerry Abramson with a

   90-day suspension for “interference with a contractor.” Abramson is a member of Boca Grove’s

   food and beverage committee and works in the kosher food and beverage industry. Due to his

   profession, he is highly familiar with kosher laws regarding food and the rules and restrictions

   required for food ingredients, preparation, and service to be kosher. At the request of Orthodox

   community members, he was in contact with the kosher compliance manager (referred to as a

   “mashgiach”) that Boca Grove hired to oversee its kosher food service and events about concerns

   with Boca Grove’s kosher food service.

          44.     The role of mashgiach is important under Jewish law because consumption of non-

   kosher food and drink is strictly prohibited and the laws that must be observed are meticulous and

   require care to uphold. Almost all ingredients or prepared foods must be specifically certified as

   kosher by relevant, trusted religious authorities. At multiple of Boca Grove’s kosher events,

   Orthodox members encountered issues with receiving non-kosher food items. Within a five-week

   span, these issues occurred at least three separate times. Orthodox community members asked

   Abramson to bring these issues to the mashgiach’s attention so they could be addressed. A primary

   concern was that the mashgiach was not upholding the degree of kosher standards that he had

   represented to the community that he would.

          45.     In their conversations, the mashgiach complained to Abramson that the Board and

   Boca Grove’s management did not give him sufficient resources and support to do his job properly.

   The mashgiach emphasized that Boca Grove would not even allow him to do a pre-opening

   meeting with the servers before kosher events to inform them about basic procedures required to




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   ensure there were no kosher compliance issues. Within the kosher compliance industry, a

   mashgiach’s reputation is everything. Any lapses in the kosher adherence of the food prepared and

   served under his oversight can destroy his career and bring him disgrace because of the importance

   of kosher law within the Orthodox community and the trust that communities must place in a

   mashgiach to ensure the food and drink they consume is kosher. From speaking with Abramson

   about the gap in the kosher standards that could be maintained at Boca Grove, the mashgiach

   realized his reputation and career were at-risk and ultimately decided to cease his role at Boca

   Grove.

            46.    Boca Grove’s general manager, Jennifer Jolly, pushed for an exit interview with the

   mashgiach, during which she repeatedly asked him what had driven him to leave. After much

   cajoling by Jolly, he explained he was leaving due to the reputational risks he incurred from his

   work at Boca Grove and the potential jeopardy it posed to his primary mashgiach work, referring

   to his conversations with Abramson about the repeated kosher compliance issues.

            47.    The Board at this time was led by the notably anti-Orthodox Mark Gilman. Thus,

   the mashgiach’s explanation, rather than making the Board and Boca Grove’s management review

   their fidelity to Boca Grove’s Orthodox community and to providing the value they promised at

   kosher events, sent the Board into a rage at Abramson for addressing Boca Grove’s issues with

   kosher compliance. A grievance was then summarily brought against Abramson for “interfering”

   with the mashgiach’s work by politely and collegially addressing an important lapse in Boca

   Grove’s kosher food service that threatened to violate its Orthodox members’ fundamental

   religious beliefs—the spiritual equivalent of pointing out that someone had been served food he

   had told the staff he was allergic to.




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          48.     Though all that Abramson had done was speak with the mashgiach about kosher

   concerns, for which Abramson had never received a prior complaint or notice that he was doing

   anything wrong, Gilman led the Board in imposing a 90-day suspension on Abramson and his

   entire family, banning them from the Club and its amenities. The hearing committee, led by Miller,

   affirmed the 90-day suspension. The wedding of Abramson’s daughter occurred during the term

   of the suspension. As a result of its prohibitions, the bride and groom were banned from taking

   wedding photos on Boca Grove’s golf course.

          49.     In 2024, the Board took similarly harsh measures against Orthodox member Warren

   Lent. Lent had persistent frustrations with the limitations on kosher food service provided by Boca

   Grove at the Club and its events and with Boca Grove’s treatment of him and other Orthodox

   community members. Lent was familiar with the anti-Orthodox statements and actions taken by

   anti-Orthodox community and board members, including the misuse of Boca Grove’s security

   officers to harass Orthodox community members for non-existent security concerns. One

   particularly egregious incident that stood out to Lent was when Boca Grove security gathered at

   Boca Grove’s main gate during Shabbat on a Saturday to engage in excessive, unnecessary, and

   burdensome security screenings of the many Orthodox families who were walking to and from the

   synagogue located just outside the gate. The screening was atypical, as member-families regularly

   walk past the gate without issue or inquiry, and forced families with small children to stand in the

   Florida heat and sun for a prolonged period without any apparent security concern that needed to

   be addressed. By all appearances, it was a gratuitous measure ordered by the Board to harass the

   Orthodox community.

          50.     Lent vocalized his frustration about this and other selective enforcement of the rules

   against Orthodox members when Boca Grove security came to his home the following day to




                                                   16
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   chastise him for having friends over on a Sunday to help clean his car in advance of Passover, in

   an alleged violation of Boca Grove’s rules for contractors. Lent was calm and respectful throughout

   the conversation. The security officers acknowledged that many of the rules violations that had

   been reported against Lent and others came from board members who lived nearby.

             51.    Around the same time, Lent had also repeatedly expressed his frustrations to

   Jennifer Jolly about the lack of any meaningful kosher options at the Club’s biggest social events,

   which he felt needlessly excluded Boca Grove’s large Orthodox community despite the high fees

   they paid to belong to Boca Grove. Lent addressed that Boca Grove consistently charged

   attendance fees for events without kosher dining options that were lower than the events’ actual

   catering costs, which meant that general membership fees were subsidizing these events. Lent was

   thus frustrated that he and Orthodox members were subsidizing the cost of events that he felt the

   Orthodox community was implicitly excluded from attending.

             52.    In expressing his frustration, he sent Jolly a copy of Boca Grove’s flyer advertising

   its 2024 Presidents’ Day pool party with two additional lines added to it sarcastically stating that

   Orthodox members were unwelcome at the event but that their financial support for it was

   appreciated. 8 Lent sent Jolly the marked-up flyer in a private email exchange between the two of

   them.

             53.    The Board swiftly punished Lent for this conduct. It accused him of “vandalizing”

   one of Boca Grove’s posters by editing a digital image of the Presidents’ Day party flyer with two

   lines of text and sending it in private correspondence with Jolly, and accused him of “resist[ing]

   appropriate enforcement actions” by “making baseless and unfounded accusations of

   discrimination against Boca Grove management” when he calmly expressed to Boca Grove



   8
       Exhibit F.


                                                     17
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   security that he thought the rules were selectively enforced against him and other Orthodox Jews

   the day after Orthodox families walking to and from synagogue on Shabbat were harassed with a

   needless mass security screening at the main gate. The Board imposed a $500 fine and a staggering

   364-day suspension on Lent, his wife, and his entire family. This punishment remains the most

   punitive measure the Board has taken in the last three years, and it was inflicted on an Orthodox

   member for simply voicing frustrations about the Board’s and management’s treatment of

   Orthodox members. The penalty was so severe that even the Board’s hand-selected hearing

   committee adjusted Lent’s suspension down to 90 days.

          54.     Abramson and Lent, both Orthodox Jews, were punished with 90-day suspensions

   for conduct that was not violent or unlawful, and that attempted to address issues or frustrations

   with Boca Grove’s treatment of the Orthodox community. In Lent’s case, the Board had intended

   to punish him with a 364-day suspension and fine. The Board did this despite consistently

   punishing actual anti-social behavior by non-Orthodox members more lightly. Non-orthodox

   members who have harassed other members and their children, who have engaged in hate speech,

   and who have verbally abused staff have consistently been given punishments as light as a warning

   letter or 7-day suspension. For non-Orthodox members, the most severe punishment the Board is

   generally willing to propose is a 30-day suspension, with the hearing committee frequently

   rejecting even these suspensions and refusing to allow any punishments to be imposed.

          55.     The only conduct by non-Orthodox members, other than a physical altercation

   between members, 9 that the Board sought to punish with a 90-day suspension was an instance of

   sexual harassment toward a staff member and two instances of offensive language toward staff.



   9
     This exceptional incident resulted in the Board seeking a 6-month and 8-month suspension
   against the offending members, which were revised to a 90-day suspension and 6-month
   suspension respectively after a hearing.


                                                  18
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   Even there, the hearing committee reduced the penalty for the sexual harassment incident and one

   of the verbal abuse incidents to 75 days—treating sexual harassment by a non-Orthodox member

   more lightly than Abramson and Lent’s comments about Boca Grove’s treatment of the Orthodox

   community.

            56.     Further demonstrating the Board’s anti-Orthodox bias, the Board departed from

   Boca Grove’s standards for fines and penalties in setting Lent’s punishment at a 364-day

   suspension and $500 fine. Under Boca Grove’s Rules and Regulations, the range of penalties

   available for allegedly acting in an abusive manner against staff or a member is a suspension of 1–

   3 months. 10 While the Board has the power to depart from these standards “based on the severity

   of the violation,” it has only been against Lent and other Orthodox Jews, including Plaintiff Isaac

   Scharf and several of his friends as explained later in the Complaint, that it has done so.

            57.     The Board’s misuse of the grievance process to discriminate against Orthodox

   members was also demonstrated in its hypocritical and discriminatory conduct relating to board

   elections. In 2022, during the runup to the board elections, an Orthodox community member, Josh

   Light sent a WhatsApp message wishing “good luck” to 3 candidates by name, followed by another

   message wishing “good luck to all the candidates.”

            58.     At the time, Boca Grove maintained a rule against “campaigning” in board

   elections. Despite Light being clear about his general neutrality toward the various candidates and

   being positive in wishing luck to all of them, Richard Buch 11 and anti-Orthodox board member

   Larry Cohen seized on the opportunity to punish Light for supposedly violating Boca Grove’s

   Election Rules. Buch brought a grievance against Light, and Cohen used his board position to push




   10
        Exhibit C at 39.
   11
        Richard Buch was not yet a board member at this time.


                                                    19
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   through a suspension against Light and his entire family for his message of generic positivity to

   the candidates. Cohen and Buch succeeded in getting the entire Light family suspended for 30

   days.

           59.    Cohen then engaged in a far worse violation of the Election Rules when he attended

   a 2025 Super Bowl party with his wife and two friends while they all wore matching shirts and

   jackets that said, “Vote for Larry Cohen.” The Election Rules prohibit “posting, circulating,

   displaying, or distributing campaign material on Boca Grove or POA premises.” 12 Unlike Josh

   Light’s arguable non-offense, Cohen and his wife and friends clearly and directly violated the rules

   by “displaying … campaign material on Boca Grove or POA premises.” Under the Election Rules,

   the prescribed punishment for Cohen’s conduct was a termination of his candidacy and 30-day

   suspensions for his wife and friends. 13

           60.    On February 18, 2025, in response to this blatant display of hypocrisy and misuse

   of power, Plaintiff Isaac Scharf submitted a grievance to Jennifer Jolly against Cohen and his wife

   and friends for violating the rules. 14 Isaac identified in his grievance that Cohen and the others

   violated the Election Rules and that Cohen was thus subject to his candidacy being terminated and

   that Cohen’s wife and friends were subject to being suspended for 30-days—like what Cohen and

   Bush had maliciously inflicted on the Lights. 15 Isaac also explained that this group’s conduct

   violated Rule 3 of Boca Grove’s Rules and Regulations by being disrespectful and uncivil to other

   members through brazenly violating Boca Grove’s election rules and imposing contentious

   campaigning into a community social event where it was explicitly prohibited. 16



   12
      Exhibit C at 8.
   13
      Id.
   14
      Exhibit G at 1.
   15
      Id.
   16
      Id.


                                                   20
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              61.   Jolly refused to open the grievance, telling Isaac that “this was already brought to

   the Nominating Committee” and that it was not “a grievable offense.”

              62.   Jolly’s summary declaration that a grievance could not be brought against Cohen

   and the others was shocking to Isaac in light of the Board’s vigorous prosecution of the grievance

   against Josh Light for comparatively inoffensive conduct that reasonably should have been

   considered not a violation of the election rules at all.

              63.   Isaac responded to confirm to Jolly that he nevertheless wished to bring a grievance

   based on the groups’ violation of Rule 3. 17 Jolly flatly denied his request, saying, “It’s already been

   reviewed and ruled on.” 18

              64.   The anti-Orthodox double-standard in the Board’s and Boca Grove management’s

   handling of board elections—excessively and discriminatorily punishing an Orthodox candidate’s

   family on a trumped-up violation while allowing a non-Orthodox board member and his wife and

   friends to get away with open rules violations—is indicative of a broader trend of Boca Grove’s

   anti-Orthodox bias in elections.

              65.   On information and belief, based on reports from those familiar with Boca Grove’s

   internal operations and board elections, Boca Grove’s nominating committee—which is appointed

   by the Board and plays a central role in determining who runs for the Board and how elections are

   administrated—has taken direction from the Board to actively block Orthodox Jewish candidates

   from getting on the ballot. This has been done as part of an effort to limit the influence of Orthodox

   families in Boca Grove’s governance—an effort reflected in Jim Perilstein’s community-wide

   email encouraging the same. The Board’s strategy has been to allow just enough Orthodox




   17
        Id.
   18
        Id.


                                                     21
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   participation in Boca Grove’s governance to try to avoid legal scrutiny, but not enough to afford

   Orthodox Jews any meaningful influence or cultural presence in the community’s leadership.

        II.         Boca Grove punished the entire Scharf family as part of its anti-Orthodox
                    discrimination campaign.

              A. Isaac brought a Jewish golf influencer to Boca Grove for a round of golf.

              66.      In December 2024, a sequence of events began that resulted in the entire Scharf

   family being punished as victims of the anti-Orthodox board members’ campaign to make

   Orthodox Jews unwelcome in Boca Grove.

              67.      Early in December, Plaintiff Isaac Scharf connected with a golf influencer named

   Jake Adams to ask if he would like to join him for a round of golf at Boca Grove. Adams runs a

   golf-themed comedic social media account called Country Club Adjacent. 19 Adams is a non-

   Orthodox Jew and a popular feature of his account is doing video reviews of country clubs that are

   either explicitly Jewish or have a large Jewish membership, which he refers to as “Jewish country

   clubs.” Adams frequently ends these videos with an encouragement for his audience members to

   invite him to their "Jewish country club.” Isaac, like many golf enthusiasts, both Jewish and not

   Jewish, is a fan of Adams’ humor and wanted to share his pride and appreciation for the Boca

   Grove community with Adams’ audience by inviting Adams to play with him and do a “review”

   of Boca Grove.

              68.      Though Boca Grove maintains no rules requiring special approval for guests like

   Adams, social media content by its members, or non-disruptively recording social media content

   at its amenities or on the golf course, Isaac went out of his way to be respectful and courteous to

   Boca Grove by reaching out to staff about Adams’ visit.



   19
            Country        Club       Adjacent        (@countryclubadjacent),               Instagram,
   https://www.instagram.com/countryclubadjacent/?hl=en.


                                                      22
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            69.      On Wednesday, December 4, 2024, Isaac texted Jennifer Jolly to share with her that

   he was in touch with Adams and had invited him to play golf that coming Sunday, December 8,

   2024. 20 Isaac sent her a link to Adams’ Instagram account so she could see his profile and content.

   He was curious whether Boca Grove would comp Adams’ round of golf as a guest because he is

   an influencer who could provide marketing value to Boca Grove through his visit. According to

   text-message read receipts, Jolly received the message at 3:23 PM on December 4th, though she

   never responded to it. 21

            70.      Because Isaac did not hear back from Jolly and December 8th was not far away, he

   also called the Club’s Golf Pro Shop and spoke with its manager, Dan Pendola. He explained to

   Pendola that Adams, a popular golf influencer, would be visiting on Sunday and wanted to play a

   round and do a video. From the conversation, Pendola appeared to be a fan of Adams’ and was

   excited to hear that he would be coming to play at Boca Grove and do a review. Because there was

   a golf tournament scheduled for Sunday morning, Isaac asked whether the course would be

   available in the afternoon. Isaac was clear that he did not want to interfere with the Club’s

   tournament or disturb other members with his golf outing with Adams. Pendola confirmed the

   course would be available on Sunday afternoon, telling Isaac “Come later in the afternoon, after

   1:00 PM.”

            71.      Pendola raised no concerns about Adams joining for a round of golf and doing a

   video. On the contrary, he and other staff were eager for it to happen.

            72.      After setting up the timing for the golf outing, Isaac reached out to three friends

   who belong to Boca Grove’s Orthodox Jewish community to ask if they would like to join. They




   20
        Exhibit H.
   21
        Id.


                                                     23
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   were not familiar with Adams’ content or that he would be doing a video “review” of Boca Grove

   but were happy to enjoy an afternoon of golf together.

           73.     On December 8, 2024, Adams met up with Isaac and the three others for the golf

   round. Based on what Pendola said about timing, they came around noon to check in and get things

   ready for the round. As Adams checked in, he introduced himself to Club staff, who were extremely

   enthusiastic—Adams’ humor is very popular in the golf community, especially among its younger

   members—and directed him to the various areas he would be going and offered to assist in any

   manner during his visit. Isaac and the group also notified the staff regarding a kosher food delivery

   that one of the members of the group had arranged. The staff offered to either bring the food out

   to the group or hold on to it for them by the turn after the 9th hole.

           74.     The golf outing was pleasant and uneventful. At the turn between the 9th hole and

   the 10th hole, the group took a break at Boca Grove’s clubhouse to eat the kosher food that had

   been brought in. Pendola and other staff from the Golf Pro Shop, including its other manager, Rob

   DiMatteo, joined for the meal, enjoying the food and watching Adams film his “pickle review,”

   which is a staple segment of his country club reviews and done in a comedically serious manner.

           75.     As the group rested while enjoying the meal, one of its members rushed home so

   he could get what he needed to quickly wrap tefillin—a daily Jewish religious practice, usually

   done in the morning, in which a Jewish man dons a set of ritual items on his arm and head and

   recites several blessings and prayers. As he left to get his tefillin, the rest of the group asked Adams

   if he would also like to wrap tefillin, offering to guide him through doing so. Adams graciously

   replied, “Yes, I’d love to; I haven’t put on tefillin since my Bar Mitzvah.”

           76.     When the member who ran home for his tefillin returned, the group was in the

   locker room facility. Isaac helped Adams wrap the tefillin and recite the associated blessings and




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   prayers. It was a beautiful moment that occurred spontaneously and was a sincere expression of

   Jewish pride and brotherhood. After they finished, they resumed playing golf. The entire process

   of wrapping tefillin takes no more than five minutes.

          77.     At the 12th hole, Pendola drove out to meet the group where they were teeing off

   and brought a gift of an official Boca Grove branded shirt and hat for Adams. Isaac had not asked

   Pendola to do this; it was an unsolicited and gracious gesture of welcome to Adams by the Club’s

   Golf Pro Shop. Pendola stayed on for a few minutes and happily enjoyed the camaraderie as the

   group continued playing.

          78.     Pendola was apparently very familiar with Adams’ content, as he encouraged the

   group to move quickly on to the 13th hole so Adams could record his “Bar Mitzvah hole” segment

   before it got too dark. Another staple segment in Adams’ golf videos is referring to the 13th hole

   of a golf course as the “Bar Mitzvah hole”—because a Jewish boy’s Bar Mitzvah occurs when he

   is 13 years old—and to have a celebration with his golf partners after finishing a putt for par. At

   the 13th hole, Adams led Isaac and his friends in a little celebratory dance together for a few

   seconds as part of this segment while Pendola recorded.

          79.     The group finished the rest of the golf round peacefully, enjoying the game and one

   another’s company, with Adams appreciative of Pendola’s thoughtful gift on behalf of the Club

   and the warm reception he had received from Pendola and all the rest of the staff. Adams then

   joined Isaac for a kosher meal at the Club, where Adams noted and was impressed by the kosher

   offerings that were available.

          80.     During and after the golf outing, Adams took brief videos of the outing and the

   amenities at the Club.




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           81.     Throughout the rest of December 2024, Isaac golfed several more times at Boca

   Grove’s golf course. Each time, he saw Pendola, DiMatteo, and other Golf Pro Shop staff and they

   would excitedly inquire about Adams’ video on Boca Grove, asking Isaac, “When’s the video

   coming out?” “Is it almost ready?” “Let us know when we can watch it.” They never expressed

   any concern about the video or its potential content; they were always positive and enthusiastic

   about it. Isaac did not receive any concern or comment from any Boca Grove board members,

   staff, or representatives.

           82.     The impression Isaac had received from Boca Grove overall about Adams’ visit and

   upcoming video was enthusiastic—the Club’s staff knew about Adams’ visit in advance because

   of Isaac’s inquiries with Jolly and Pendola; Adams was welcomed with positivity and free gear;

   and staff were eager to see Adams’ review. Isaac was aware that Boca Grove’s Instagram account

   followed both Adams’ Country Club Adjacent account and Adams’ personal account on Instagram.

           B. The anti-Orthodox board members were furious with Adams’ video because it
              made Boca Grove look inviting to Orthodox Jews and initiated a grievance against
              Isaac to punish him for it.

           83.     On January 6, 2025, Adams released a short video from his golf outing with Isaac

   and his friends at Boca Grove. 22 The video was a compilation of seconds-long short clips from the

   golf outing and of Boca Grove’s grounds and amenities, including a clip of Isaac assisting Adams

   with wrapping tefillin at the clubhouse, Adams’ pickle review, and a clip of the group doing a

   celebratory dance at the “Bar Mitzvah hole.” Overlaid over the footage was voice narration from

   Adams making Jewish-themed light jokes and puns about his visit to the Club and how nice the




   22
            Country        Club     Adjacent       (@countryclubadjacent),                Instagram,
   https://www.instagram.com/p/DEgPYTUy3_a/ (Jan. 6, 2025).


                                                  26
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   amenities and kosher dining options were. Adams ended the video rating Boca Grove a 9.2/10

   country club and encouraging his viewers to invite him to their Jewish country club.




   Screenshot from Adams’ video of Plaintiff Isaac Scharf helping Adams wrap tefillin in the Club’s
   locker room.

            84.    Adams recorded, edited, and published the video entirely on his own. Isaac had no

   control over its content; he had simply invited Adams to be his guest for a round of golf because

   he was a fan of his content and thought it would be fun and positive for the community if Adams

   wanted to do a review of his time at the Club.

            85.    When Adams posted the video, Boca Grove’s Instagram account (@bocagrovecc)

   liked it and left a positive comment on it. 23 Isaac received positive feedback about the video from


   23
        The comment has since been deleted.


                                                    27
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   Boca Grove staff and other Boca Grove members, both Orthodox and non-Orthodox, who thought

   it was funny and that it made the community look great.

           86.     Despite the inoffensive nature of the video and the positive reactions from staff and

   community members, Isaac soon heard that members of the Board were furious about it. He did

   not know at the time that this was because anti-Orthodox board members believed the video made

   Boca Grove appear too Orthodox and too attractive to Orthodox Jews based on Adams’ referring

   to Boca Grove as a “Jewish country club,” emphasizing the Club’s kosher amenities, and showing

   a clip of Isaac and Adams wrapping tefillin in the Club’s locker room. It enraged these board

   members that the video undermined their goal of driving away Boca Grove’s Orthodox

   community.

           87.     Following the video’s publication, these board members called for an emergency

   investigation into the facts surrounding the video before the Board’s next scheduled meeting on

   January 13, 2025. The Board employed a factfinder named Robert Furr.

           88.     On January 10, 2025, Isaac was traveling internationally when he received a call

   from Jennifer Jolly. She told him: “I just wanted to let you know—the Board is upset about the

   video. They’re talking about grieiving you. But don’t worry too much. You didn’t break any rules.

   I really don’t think this is a big deal. Just write up the facts and I’m sure it’ll be fine.”

           89.     Jolly’s phone call was the first notification Isaac received from Boca Grove about

   a potential grievance against him.

           90.     Shortly after Jolly’s call, Isaac received multiple voicemails from Furr, who

   explained that he had been tasked with fact-finding related to the video and demanded Isaac

   respond to his factual inquiry.




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             91.     On January 12, 2025, Isaac responded to Furr with a comprehensive email

   providing a clear overview of the events leading up to and during the golf outing with Adams,

   including his outreach to Jolly and Pendola in advance of the outing and the warm reception and

   participation his group had received from Boca Grove’s staff. 24

             92.     In preparing his response to Furr, Isaac reached out to Adams about the video and

   the feedback it had received. Adams told Isaac that the response was overwhelmingly positive, that

   viewers had recognized the “world class” facilities of the Club and how it appeared to have an

   inclusive community, and that it was always Adams’ intention to showcase Boca Grove’s warmth,

   particularly toward the Jewish community. Adams informed Isaac that if the Board deemed it

   necessary he would consider editing his post or addressing any misunderstandings or issues in a

   follow up post to ensure that Boca Grove was accurately and positively represented. Isaac shared

   all this information for the Board’s benefit in his email to Furr, including Adams’ email address so

   the Board could reach out to him if it wanted. 25

             93.     On January 13, 2025, the Board had a meeting during which it discussed Adams’

   video. Jolly and Furr presented the results of Furr’s fact-finding. Their presentation was a lopsided

   case against Isaac and the other Orthodox members who joined the golf outing, omitting important

   contextual information like Adams’ video being one of many comedic videos he did about

   “Jewish” country clubs across the country, many of which are not formally Jewish by any means,

   and failing to share Isaac’s January 12th email that explained the entire situation, how Adams had

   been encouraged by Club staff who knew about, facilitated, and were excited for his video, how

   neither Isaac nor Adams had taken any action to present Boca Grove in anything other than a




   24
        See Exhibit I.
   25
        Id.


                                                       29
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   positive light, and how Adams had offered to edit or clarify his post about Boca Grove if the Board

   requested it.

             94.     On information and belief based on reports from individuals familiar with the

   meeting, the anti-Orthodox board members engineered the meeting to be lopsided in this manner

   so that they could get the Board to punish Isaac and the other Orthodox members of the golf outing

   for making Boca Grove look appealing to Orthodox Jews. Based on the selective presentation of

   evidence, the anti-Orthodox members were able to push the Board into penalizing Isaac and the

   three other Orthodox members for an “offensive social media video” in violation of Rule 3 of Boca

   Grove’s rules and regulations, which requires members’ and guests’ conduct to “be tempered with

   courtesy and respect for fellow members, Boca Grove employees and employees of contractors”

   and to “treat everyone with civility and in a manner that would not be offensive to a reasonable

   person.” 26

             95.     On January 14, 2025, Isaac received a Notice of Violation and Proposed Penalty

   from the Board. 27 The notice informed Isaac that the Board had reviewed a grievance against him

   based on Adams’ video and sought to punish him with a total ban on his and his family’s access to

   all Boca Grove amenities for 90-days because Adams’ video contained “references to religious

   practices that have been deemed offensive to a reasonable person:”

             At a Regular Meeting of the Board of Directors (“Board”) held on January 13, 2025,
             the Board reviewed a grievance describing a video posted on social media, tagging
             bocagrovecc. The video was filmed by your guest on Boca Grove property on
             December 8, 2024. In the video, there are several references to religious practices
             that have been deemed offensive to a reasonable person. Upon further investigation
             and review, the Board has determined that the grievance constitutes a violation by




   26
        Exhibit C at 8.
   27
        Exhibit J.


                                                     30
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          you of the Boca Grove Rules and Regulations (“Boca Grove Rules”), General Rules
          3 as well as a violation of the Code of Ethics, which is attached.
          ...
          The Board has taken into consideration the above-referenced conduct and has
          proposed a penalty of ninety (90) days suspension. Suspension includes, without
          limitation, the deactivation of all auto transponders associated with your
          membership. During the suspension, you and any of your family members, medical
          aide, nanny/housekeeper and/or guests are prohibited from using any and all POA
          property, facilities and services, which include the clubhouse, pool area, pool
          dining, The Curve, all Curve classes, the playground, children’s facilities, tennis
          facilities including pickleball courts, any and all golf facilities, driving range,
          putting green and the golf course. The suspension will not preclude you from using
          the sidewalks, roads and entrances to the Boca Grove community. 28

          96.      The notice failed to articulate the Board’s basis for finding that Isaac had violated

   Rule 3. It did not articulate what “references to religious practices” in Adams’ video were an issue

   or how they were “offensive to a reasonable person.” The notice also did not explain why the

   Board was punishing Isaac for Adams’ video when, as explained at length in Isaac’s January 12th

   email to Furr, both men had exceedingly positive intentions toward Boca Grove, Isaac was not

   personally responsible for any content in the video, Boca Grove staff encouraged and facilitated

   the video, and Adams had explicitly offered to edit his post or take further actions to address any

   of the Board’s concerns and ensure Boca Grove was portrayed positively as he had intended.

          97.      The notice also accused Isaac of violating Boca Grove’s Code of Ethics 29 but failed

   to specify what provision of it he had supposedly violated. There do not appear to be any provisions

   of the Code of Ethics applicable to Isaac based on Adams’ video. 30




   28
      Id.
   29
      Exhibit K.
   30
      Id.


                                                    31
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             98.    Like with Lent, the Board’s proposed punishment against Isaac, a 90-day

   suspension, vastly exceeded the penalty standards set forth in Boca Grove’s Rules and Regulations.

   Under Boca Grove’s standards, Isaac’s conduct—violating Rule 3 through involvement with a

   social media video—would be classified as “Any violation of other Boca Grove rules,” for which

   the standard punishments are mild:

             First Offense: Warning
             Second Offense: $50.00
             Third Offense: $100.00
             Fourth Offense: $100.00 + 1 Week Family Transponder Suspension. 31

             99.    Despite Isaac having no previous issues with Boca Grove’s rules and despite Isaac

   undertaking his challenged conduct in good faith and with good intentions, the Board departed

   from Boca Grove’s penalty standards to impose one of its most severe penalties against him for

   his first offense.

             100.   The Board’s set a hearing before Boca Grove’s hearing committee on January 30,

   2025, to review the punishment. Because this proposed hearing date overlapped with travel Isaac

   had scheduled, he contacted Jolly to ask for an alternative date. Isaac subsequently received notice

   that the hearing date had been moved to February 11, 2025. Jolly and the Board set this date without

   consulting Isaac, who was scheduled to travel during this time as well.

             101.   Isaac then communicated with the Board to reschedule the hearing, proposing the

   hearing date be set for March 11, 2025. The Board was resistant to rescheduling the hearing despite

   not collaborating with Isaac to set either of the first two proposed dates. It was only when Isaac

   explained that the Board was not acting in good faith in working with him to set a mutually

   agreeable date for the hearing that the Board relented and agreed to reschedule to March 11th. 32



   31
        Exhibit C at 39.
   32
        Exhibit L at 4–5.


                                                   32
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            102.     On information and belief, based on details provided by those familiar with the

   matter, at least one of the members of Boca Grove’s hearing committee, the already anti-Orthodox

   Randy Miller, was incensed by Isaac’s effort to have the hearing rescheduled to a date he could

   actually attend and declared to others his intent to punish Isaac for doing so—indicating he planned

   to inflict a penalty on Isaac regardless of the merits of the underlying grievance just for attempting

   to find a date on which he could participate in the proceedings.

            C. The Board punished the other members of the golf outing with excessive penalties
               despite their not having a role in arranging the golf outing or inviting Adams.

            103.     At the same January 13, 2025, meeting during which the Board’s anti-Orthodox

   members pushed the Board into punishing Isaac, the Board also issued penalties against the three

   other Orthodox members who attended the golf outing. Despite none of them knowing about

   Adams’ intent to do a video review of Boca Grove, 33 and despite Adams being Isaac’s guest, not

   any of theirs, the Board still issued suspensions against all three of them.

            104.     The Board punished two of them with 14-day suspensions on the same basis as

   Isaac—for an “offensive social media video” that contained “references to religious practices that

   have been deemed offensive to a reasonable person.” The third member of the group was punished

   with a 30-day suspension for the additional reason that he had been the one to have the kosher food

   brought in, which the Board claimed was in violation of Boca Grove’s rules on dining, despite the

   Club’s staff directly participating in bringing in and serving the food.

            105.     All three of these punishments, like Isaac’s, exceeded the penalty standards in Boca

   Grove’s rules, which would have had them all punished with only a warning as a first offense, or

   at most a $100 fine and a one-week suspension of their auto transponders if it had been their fourth




   33
        Exhibit M.


                                                      33
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   offense. 34 The hearing committee subsequently reduced the two 14-day suspensions to a 7-day

   suspension 35 and a warning letter and reduced the 30-day suspension to a 14-day suspension with

   an exception to the household suspension made for the member’s special needs son.

          D. The Board prohibited Isaac from bringing any of his intended witnesses to the
             hearing.

          106.    On March 9, 2025, Isaac sent the Board an email with the list of the witnesses he

   intended to have provide testimony during the hearing. 36 The list included Kevin Ross and Shlomo

   Goldman, two of the Orthodox members who joined in the December 8th golf outing, Jake Adams,

   Rabbi Yaakov Gibber, the Rabbi of the nearby synagogue which the Scharfs and the vast majority

   of Boca Grove’s Orthodox members attend, Geoffrey Newman, a board member, and Pendola and

   DiMatteo of the Golf Pro Shop. 37 Isaac also inquired as to whether Boca Grove would record the

   hearing and if he could record it personally. 38

          107.    On March 10, 2025, the Board responded with newly-announced restrictions on

   Isaac’s ability to bring witnesses in his defense. 39 Framing disclosure of these restrictions as a

   “reminder” despite it being the first time Isaac was told this information, the Board stated that the

   hearing’s purpose was for Isaac “to have the opportunity to show cause why the proposed

   discipline should not be imposed” and that this meant that he may speak and provide information

   that supported his position but that his options for witnesses were limited. 40 Isaac was told that

   only “individuals who were physically present may be permitted to speak, at the discretion of the



   34
      Exhibit C at 38.
   35
      This member retained an attorney to dispute his penalty and the Board ultimately withdrew his
   suspension.
   36
      Exhibit L at 6.
   37
      Id.
   38
      Id.
   39
      Id. at 7.
   40
      Id.


                                                      34
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   hearing panel, but those who were not physically present or who have already been heard by the

   hearing panel will not have an opportunity to speak, unless otherwise determined to be necessary

   by the hearing panel.” 41 Isaac was also told that Boca Grove “does not record nor allow recording

   of any grievance hearing proceedings.” 42

          108.     Isaac was then told that Ross, Goldman, Pendola, and DiMatteo would not be

   permitted as witnesses because they had already “been heard” by the hearing panel in separate

   grievances related to the golf outing, and that Rabbi Gibber and Newman would not be permitted

   to speak because they were “not physically present” during the events in question. As a result,

   Isaac was left without any witnesses in his support.

          109.     Attached to the Board’s email was a document describing “hearing etiquette” for

   Boca Groves “Fining and Suspension Process.” 43 The document did not state any rules or

   restrictions regarding witnesses like those stated by the Board. Nor are there any such restrictions

   contained in Boca Grove’s Declaration, By-Laws, or Rules and Regulations.

          E. During the hearing, the Board’s anti-Orthodox motivation for punishing Isaac
             was openly stated.

          110.     On March 11, 2025, Isaac went to Boca Grove’s clubhouse to attend the hearing.

          111.     As Isaac was waiting outside the meeting room where the hearing was to take place,

   Jolly entered the room and spoke with him. She asked where Isaac’s witnesses were. Isaac was

   confused by Jolly’s question, as she was involved in arranging the hearing and communicating

   with him about the restrictions on his witnesses. Isaac explained that he did not have witnesses

   with him because of the Board’s restrictions.



   41
      Id.
   42
      Id.
   43
      Exhibit N.


                                                   35
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          112.     Isaac then asked Jolly about the procedure for entering the hearing room and

   starting the hearing. She stated that everyone involved in the hearing would enter together. But

   when the time for the hearing arrived, Jolly and Isaac entered the room and Isaac saw that all the

   other participants and witnesses arrayed against him by the Board were already in the room

   together.

          113.     Attending the hearing were the hearing committee, Randy Miller, Alan Utensky,

   and Elaine Weiner; the Board’s witnesses against Isaac, Jolly as Boca Grove’s general manager,

   Pendola and DiMatteo as employees of Boca Grove’s Golf Pro Shop; a Boca Grove staff member

   there to take notes; and two board members, Brandon Rippo (the board president) and Curt Smith.

          114.     Given that the Board had found reasons to deny Isaac’s ability to bring any of his

   proposed witnesses, he was shocked to see that Boca Grove had shown up with a full suite of club

   staff, internal leadership, and board members ready to advocate in favor of punishing him for

   Adams’ video.

          115.     The tone and conduct of the hearing was immediately unprofessional and

   antagonistic against Isaac. Randy Miller was particularly aggressive, condescending, and biased.

   When Miller observed Isaac taking notes on the proceedings because he had been denied witnesses

   and recording the hearing was prohibited, he mocked him: “Oh, this is very, very, very, very

   important. Better take good notes.” Isaac recognized this as an expression of Miller’s antipathy

   toward him and an attempt to rattle him.

          116.     Isaac had prepared an agenda of points he wished to address about Adams’ visit and

   why punishment against him for any “references to religious practices” in Adams’ video was

   unwarranted and improper; one of which was discussing how he had helped Adams wrap tefillin

   in the Boca Grove men’s locker room. He had assumed that part of, if not all of, the reason the




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   Board deemed Adams’ video offensive based on its “references to religious practices” was that

   Adams had been lightly comedic in his narration about Isaac helping him wrap tefillin.

          117.    Isaac began explaining that wrapping tefillin is a beautiful Jewish ritual and that it

   was a meaningful moment and an honor to help Adams wrap tefillin for the first time since his Bar

   Mitzvah; that there is a long tradition of Jews wrapping tefillin in locker rooms before athletic

   activity; that Adams is known for being lovingly light-hearted, particularly about Jewish culture,

   and that Adams neither intended to offend anyone with the comedy in the video nor reasonably

   should have because his humor is mainstream and highly popular within the Jewish community.

          118.    Isaac’s explanation was interrupted by Jennifer Jolly and Alan Utensky. Jolly

   interjected to state that the Board’s problem with Adams’ video was not behavior, it was optics.

   She stated that the reason for the Board’s anger and the grievance against Isaac was how visibly

   Orthodox Jewish the video was. The Board was particularly furious with the clip of Isaac helping

   Adams wrap tefillin in the locker room because it made Boca Grove look too friendly and inviting

   to the Orthodox Jews; the Board was similarly angered by Adams referring to Boca Grove as a

   “Jewish country club.” The Board perceived it as staining Boca Grove’s name and reputation to be

   so associated with Orthodox Jews and was worried that it would only further encourage Orthodox

   families to move to the community.

          119.    Utensky confirmed Jolly’s explanation and echoed the Board’s disdain with Boca

   Grove being known as Orthodox, stating that the mere act of wrapping tefillin on video in Boca

   Grove’s locker room was offensive because it made Boca Grove look Orthodox. Randy Miller

   joined in as well, angrily stating, “We’re not a Jewish Country Club.”

          120.    Jolly and the hearing committee members also stated how they and the Board were

   livid with Adams’ video jokingly referring to the kosher café offerings by Boca Grove’s pool as




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   the “Starbucks of David” and his description of the various kosher dining options available at Boca

   Grove for the same reasons.

          121.    They confirmed that the basis for the grievance against Isaac was not that Adams’

   video had insulted or disrespected any members of the Jewish community, but that it had offended

   the Board by showing Orthodox Jewish life at Boca Grove and making Boca Grove look too

   positive for Orthodox Jews.

          122.    This was the first time that Isaac had heard the true reason for the Board’s grievance

   against him. Up to this point, Isaac had never received an explanation about what content within

   Adams’ video the Board had taken issue with and had determined to be “offensive to a reasonable

   person.” Isaac was thus taken aback, as Jolly, Utensky, and Miller had plainly stated that Boca

   Grove was religiously discriminating against him because the Board had deemed Orthodox

   religious practices like wrapping tefillin “offensive to a reasonable person.” He was shocked that

   they were willing to openly admit to the Board’s bigotry against Orthodox Jews and their own in

   the middle of the hearing and state it as the motivation for why he was being punished. Jolly,

   Utensky, and Miller were unabashed and lacked any self-consciousness in telling Isaac that the

   Board was penalizing him because he was in a video that made Boca Groove look too welcoming

   to Orthodox Jews by showing tefillin being wrapped on the property.

          123.    Isaac was also surprised by this anger against a display of Orthodox Judaism at the

   Club because Boca Grove has consistently promoted Christian religious events and celebrations,

   including spending tens of thousands of dollars on a lavish Easter celebration that featured a

   helicopter Easter egg drop and an Easter bunny performer.

          124.    Alongside Jolly’s, Utensky’s, and Miller’s statements confirming that the Board

   was motivated by anti-Orthodox animus to punish Isaac for Adams’ video because it portrayed




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   Boca Grove as too Orthodox-friendly, there were signs that the Board and Boca Grove’s

   management withheld information to influence the grievance process against Isaac.

          125.    During the hearing, the third member of the hearing committee, Elaine Wyner,

   stated that she had only been shown a single video of Adams’—the video of his visit to Boca

   Grove—and that she had not been told anything about the background or context of the video and

   Adams’ work, including that the video was intended to be comedic, that Adams is a Jewish

   comedian, and that it was one of dozens of similar videos Adams has made about various different

   golf clubs and resorts. She also had not been shown the email Isaac sent on January 12th explaining

   what happened during the golf outing and that Adams had received a warm reception from Boca

   Grove staff.

          126.    Isaac raised with the hearing committee that it appeared that a few members of the

   Board were leading the grievance process to a set conclusion against him by omitting key facts

   and information, such as how Isaac’s email from January 12th had not been shared with members

   of the Board at the January 13th meeting where the Board decided on punishing him. Miller

   attempted to dispute this criticism by asking board president Brandon Rippo whether he had

   received a copy of Isaac’s January 12th email. Rippo was visibly unfamiliar with what Miller was

   referring to and could not readily respond that he had seen the email. Jolly then stepped in, claiming

   that she had sent it to Rippo. Jolly and Miller clearly intended for Rippo to confirm that he had

   seen it and provide “cover” for the Board. Picking up on their cues, Rippo then fumbled with and

   looked at his phone and hurriedly confirmed that he had previously received the email and

   reviewed it.

          127.    At the end of the hearing, Jolly and the hearing committee said it was time for

   everyone other than the hearing committee to leave the room while the committee deliberated. As




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   Isaac was exiting alongside Jolly, he saw that the board members, Rippo and Smith, were staying

   behind in the room and talking with the hearing committee as they were deliberating. This confused

   Isaac based on what he had just been told about the hearing committee needing to deliberate

   without outside interference and based on the requirements of Section 8.4 of Boca Grove’s By-

   Laws and Fla. Stat. Ann. § 720.305(2)(b)-(c), which state that the Board’s suspension may not be

   imposed unless confirmed by a hearing committee comprised of three members “who are not either

   officers, directors, or employees of the association ….” 44 Based on these rules, Isaac did not

   understand why the board president and another board member were interfering in the hearing

   committee’s decision-making after the hearing’s close.

             128.   Shortly after the hearing, the hearing committee issued its determination approving

   the Board’s proposed 90-day suspension. Boca Grove sent Isaac a notice that the suspension had

   been approved:

             After full consideration of the relevant facts, the Committee voted unanimously to
             approve the proposed 90-days suspension.

             Accordingly, the 90-days suspension is effective immediately as of March 11, 2025,
             and will end on June 9, 2025.

             Please note that suspension includes, without limitation, the deactivation of all auto
             transponders associated with your membership. You and/or your guests are
             prohibited from using any and all POA property, facilities and services, which
             include the clubhouse, pool area, pool dining, The Curve, all Curve classes, the
             playground, children’s facilities, tennis facilities including pickleball courts, any
             and all golf facilities, driving range, putting green and the golf course. The
             suspension will not preclude you from using the sidewalks, roads and entrances to
             the Boca Grove community.

             Please conduct yourself accordingly. 45


   44
        Exhibit E at 95.
   45
        Exhibit O.


                                                       40
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             F. Further incidents after the hearing corroborate the Board’s anti-Orthodox
                animus in punishing Isaac.

             129.    Within a short period of time after the hearing, there were two additional incidents

   that further suggest that Isaac was targeted for punishment by the Board because the Board was

   furious that Adams’ video made Boca Grove look too welcoming to Orthodox Jews.

             130.    The first was when Isaac had a chance interaction with one of the board members,

   Geoffrey Newman, by the tennis courts. Isaac approached Newman and told him that he had

   serious concerns about what was happening with the grievance and how he was being targeted for

   a video he had not posted and was not responsible for. Newman responded: “Well, the video was

   bad. We had so many complaints. Tons of people reached out—they were very upset. We had to

   do something.” Isaac then asked how many people had complained and what they had complained

   about. Newman could not give Isaac an answer and just repeated that the Board had received a lot

   of feedback and supposedly had no choice but to act.

             131.    Jolly, Utensky, and Miller had made similar claims during the hearing about the

   supposed volume of complaints that the Board had received about Adams’ video. As with

   Newman, they did not articulate what the substance of the complaints was or how many had been

   received.

             132.    Following the conversation with Newman, Isaac made a records request to Boca

   Grove for the complaints it had received related to Adams’ video. All that Boca Grove produced

   was a single transcribed voicemail. 46 It produced no other evidence of the many complaints it had

   allegedly received. The lack of any additional records of complaints about Adams’ video indicates

   that Newman, Jolly, Utensky, and Miller were repeating a false narrative that the Board had




   46
        Exhibit P.


                                                      41
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   developed to justify punishing Isaac based on the Board’s desire to retaliate against him due to

   certain members’ anti-Orthodox bigotry.

          133.    The second incident occurred at Boca Grove’s café within two weeks of the hearing.

   The two board members who sat in on the hearing and appeared to influence the committee’s

   decision to approve Isaac’s punishment, Brandon Rippo and Curt Smith, had a meeting at the café

   with a small group of Boca Grove members to discuss tensions in the community. During the

   conversation, Rippo and Smith stated that they did not want Boca Grove “to be known as a kosher

   club” despite the Club offering many kosher amenities and events. One of the members in the

   conversation challenged them, asking, “Why is that a problem? Would you say the same thing if

   this were a Black country club?” Smith responded angrily and without hesitation, “I wouldn’t want

   this to be known as a Black country club either.”

          134.    In addition to these incidents, the Board has apparently further retaliated against the

   positive depiction of Orthodox life and welcomeness at Boca Grove in Adams’ video by rolling

   back the Club’s kosher offerings. Since the video’s publication, the Board has canceled multiple

   of its regular kosher events and dining options despite their extreme popularity. The Board’s

   pretextual reason for these cancellations is that the kosher events are insufficiently attended, but

   this justification is belied by the kosher events’ popularity and high attendance. This justification

   is further belied by the Board’s willingness to host a rankly misogynistic “Playboy” themed party

   during the same period, which was organized at exorbitant cost and, predictably, sparsely attended,

   as neither Boca Grove’s many Orthodox members nor many of its non-Orthodox members wished

   to be associated with such a vulgar theme.




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            G. The Board extended the suspension to the entire Scharf family to further punish
               Isaac and torment him for making Boca Grove look welcoming to Orthodox Jews.

            135.     The 90-day suspension that the Board imposed on Isaac on March 11, 2025, was

   initially limited to only Isaac personally and his guests. The terms of the suspension were that the

   Scharfs’ auto transponders, which allowed Isaac and his wife Danielle to drive past the gate into

   Boca Grove in the residents’ lane rather than wait in a separate, often delayed visitors’ lane to be

   screened by security, were deactivated and that Isaac and his guests were prohibited “from using

   any and all [Boca Grove] property, facilities, and services.” This included “the clubhouse, pool

   area, pool dining, The Curve [Boca Grove’s gym], all Curve classes, the playground, children’s

   facilities, tennis facilities including pickleball courts, any and all golf facilities, driving range,

   putting green and the golf course.” 47

            136.     The Board soon amended the suspension to gratuitously target Danielle and the

   Scharf children as well, expanding the suspension to prohibit them from all access and

   participation in Boca Grove’s amenities and social life.

            137.     This change was made after Isaac’s 14-year-old son, C.S., went to play a round of

   golf on Sunday, March 16, 2025. C.S. is an avid golf player and often plays on Sundays. C.S. had

   no involvement with his father’s golf outing with Adams and has never had any issues with Boca

   Grove’s rules and regulations. He is respectful, kind, and well-regarded within the community.

   Based on the suspension’s language, there were no restrictions on his right to play golf at the

   community’s golf course.




   47
        Exhibit O.


                                                    43
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            138.     Despite the clear language of the suspension, Isaac received a call from Jennifer

   Jolly after C.S. went to play golf, bluntly stating: “It was brought to my attention that your son

   was golfing today. Just so you’re aware, your entire family is suspended, not just you.”

            139.     Isaac responded calmly and respectfully that the suspension notice contained no

   such terms and that if the Board’s intent was to punish his entire family because Adams’ video

   showed Jewish religious practices at Boca Grove, the Board should have explicitly said so. Isaac

   then followed up with a text to Jolly confirming that he had reviewed the suspension notice again

   and that it clearly limited its terms to only Isaac and his personal guests.

            140.     Two days later, on March 18, 2025, Isaac received a new letter from the Board

   declaring that the suspension notice had been amended so that the suspension applied to “[y]ou

   and any of your family members, medical aide, nanny/housekeeper and/or guests.” 48

            141.     The Board’s extension of Isaac’s punishment to his wife and children was done in

   direct retaliation against C.S., a fourteen-year-old boy, for playing golf with a friend.

            142.     After the suspension was announced and was expanded to include Isaac’s wife and

   children, numerous members of the Boca Grove community, both non-Orthodox and Orthodox,

   vigorously contacted the Board and Boca Grove’s management, sending emails and even

   circulating a petition, to plead that the Board at least not punish the children.

            143.     The Board has previously exempted the children of Boca Grove members from

   suspensions, making exceptions when the conduct at issue did not involve the children and the

   punishment would be gratuitous, as with the example of the other member of the golf outing whose

   special needs son was exempted from the member’s 14-day suspension. The Board has

   demonstrated that it has fundamental discretion in determining the scope of the penalties it imposes



   48
        Exhibit Q.


                                                     44
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   and it has repeatedly withdrawn or reduced penalties on further consideration, as demonstrated

   when the Board withdrew the suspension for one of the other members of the golf outing when he

   retained counsel and objected to the penalty, and when the Board reversed a 90-day suspension

   against another family midway through its term.

             144.   The Board ignored or dismissed all these attempts to spare the Scharf children from

   the suspension without any meaningful reply, refusing to exempt C.S., H.S., R.S., Edward, and

   Alex despite their having nothing to do with Adams’ video.

      III.      The Board’s discriminatory anti-Orthodox suspension has inflicted needless
                social, emotional, and mental harm on the entire Scharf family, particularly the
                children.

             145.   For the last two-and-a-half months, the Board’s retaliatory suspension has cut the

   entire Scharf family out of life at Boca Grove. The impact has been terrible. It has severely

   disrupted the family’s social lives and their day-to-day activities. The emotional toll of the

   suspension has been profound and ongoing, with the Scharfs not simply losing their access to

   amenities, but being publicly humiliated, socially isolated, and excluded from the community

   where they live, the children are being raised, and Isaac and Danielle pay full dues. They have lost

   their peace of mind, their comfort in their own home, and their sense of belonging in the Boca

   Grove community, both as individuals and as Jews—all because certain Board members detest that

   the world had an opportunity to see Orthodox Jews enjoying the Boca Grove community.

             A. C.S.’s harm from the suspension.

             146.   Following the family’s suspension, Isaac’s teenage son, C.S., immediately began to

   withdraw socially, worried that other Boca Grove members and staff would confront him or scold

   him if he went out in the community, which has happened repeatedly. At least twice as C.S. went




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   around the community—not violating any of the terms of the suspension—adult members yelled

   at him for being out in the community, telling him he must leave.

          147.    He has grown increasingly more isolated as time has gone on and he has been

   unable to socialize with other children in common spaces or participate in social life in the

   community. He became afraid to go anywhere near the teen lounge, gym, golf course, or even the

   general clubhouse area, all of which he previously enjoyed and which were central to him

   socializing with his friends and enjoying his childhood.

          148.    The worst moment for him was on April 14, 2025. Boca Grove offered a kosher-

   for-Passover tearoom during the Passover holiday as a place for children in the community to

   gather, socialize, and enjoy food. On that day, C.S. was scootering along the sidewalk with a group

   of friends near the tearoom. C.S. did not go inside or even leave the sidewalk, but a member saw

   him nearby and shouted at him in front of his friends, “Scharf! You can’t be here! You’re

   punished!” C.S. came home distraught, having once again been berated by an adult and publicly

   humiliated despite doing nothing wrong, just because his father was incidentally connected to a

   video that upset the Board by showing Orthodox life at Boca Grove positively.

          149.    The suspension has led C.S. to experience social fear and distress about public

   embarrassment and confrontation. He has struggled deeply with feelings of guilt from the Board

   extending the suspension to the entire family after he went golfing on March 16, 2025, in what he

   believed was full compliance with the suspension letter. Despite Isaac and Danielle doing all they

   can to reassure him otherwise, he has since been deeply uncomfortable with even leaving home.

          150.    He has been isolated, worried, unable to go where he has previously spent much of

   his time, and afraid that someone might confront him, question him, or embarrass him again. Since

   the tearoom incident in particular, he has isolated himself further. When friends suggest hanging




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   out at the clubhouse, he lies and says he’s busy or avoids them altogether because he does not want

   to be a burden and does not want to be angrily and publicly told by an adult yet again that he does

   not belong.

          B. H.S.’s harm from the suspension.

          151.    Isaac and Danielle’s five-year-old son, H.S., has been affected the worst by the

   suspension.

          152.    The Scharf family regularly goes to Boca Grove’s pool on Sundays. It is how they

   socialize, get out of the house, and enjoy the community. It is how H.S. sees his friends and spends

   time with his mother, father, and siblings. But with the suspension, Isaac and Danielle have had to

   repeatedly tell H.S. he cannot go to the pool anymore or to any other activity that is part of his

   routine and sense of normalcy—without being able to give him a good reason why.

          153.    Every Sunday, Isaac and Danielle are forced to lie: “the pool is closed today;”

   “they’re cleaning the water;” “it’s just for grown-ups today.” But H.S. knows his friends are still

   able to go. When he hears his friends say, “We’re going to the pool, see you there!” he becomes

   despondent and inconsolable, asking his parents over and over, “why can’t we go too?” Isaac and

   Danielle are bereft of an answer they can give him that would not hurt him even more. Telling H.S.

   the truth about the situation—that the whole family is being punished because members of the

   Board did not like that his father wrapped tefillin at the clubhouse and do not want Boca Grove to

   seem welcome to Orthodox Jews—would be too hard to explain and would make him fearful of

   being a Jew at Boca Grove.

          154.    The family had the same issues with the once-a-month kosher events at the

   clubhouse. One of H.S.’s friends left the Scharfs’ house to go to one of the events and asked H.S.

   if he wanted to join. H.S.’s eyes lit up and he asked if he could go, then begged if he could go.




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   When Isaac and Danielle had to tell him, “No” (again), he was left crying, asking why he was not

   allowed to go if he had done nothing wrong.

          155.    For months, Isaac and Danielle have encouraged H.S. to try playing tennis and to

   join the Club’s junior tennis clinic on Sundays and Wednesdays. H.S. had been hesitant, until one

   day a friend of his was being picked up from the Scharfs’ house and asked, “I’m going to tennis,

   want to come?” For the first time, H.S. wanted to go. But Isaac and Danielle again had to tell him,

   “No,” and watch as H.S.’s moment of excitement and openness turned to sadness and confusion.

   It was frustrating and upsetting for the entire family—for Isaac and Danielle as parents forced to

   tell their young son over and over that he could not participate in the community and activities he

   enjoyed and wanted to try, and for H.S. as a young child trying to understand why his life had

   suddenly and inexplicably changed.

          156.    The suspension has crushed H.S. He has suffered confusion, frustration, and a

   growing sense of exclusion. He is too young to understand what a “suspension” means or why his

   friends get to enjoy the club’s amenities while he cannot join them. When he sees his friends leave

   his house to go to the pool or to kosher dining events or to play tennis and he cannot join, he just

   cries. Like C.S., H.S. has had trouble with internalizing a sense of blame and guilt related to the

   suspension, unable to understand how he could be excluded from his community, his friends, and

   his sense of normalcy unless he had done something wrong.

          157.    It has been heart-wrenching for Isaac and Danielle to watch their beloved, happy,

   and bright young son crushed by denial after denial and exclusion after exclusion, clearly changing

   over time as he has become withdrawn, all while they cannot do a thing about it.




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          C. R.S.’s harm from the suspension.

          158.      The suspension has affected Isaac and Danielle’s one-year-old baby daughter R.S.

   as well. Prior to the suspension, Danielle or R.S.’s nanny would take her to the Club’s park area

   near the pool, for walks around the clubhouse and its amenities, and to the playground. They would

   get water and other drinks for R.S. and themselves from the clubhouse’s machines and push R.S.

   on the swings.

          159.      Under the suspension, neither baby R.S. nor her mother or nanny are allowed at any

   of these locations. Due to the Board’s vindictiveness at a video showing a several-second clip of

   her father wrapping tefillin on Adams’ arm, R.S. cannot even be pushed on a swing by her mother

   or nanny.

          D. Danielle Scharf’s harm from the suspension.

          160.      Danielle has been harmed by the suspension socially, religiously, and emotionally.

   Danielle is strongly engaged with the Boca Grove community and the majority of her close friends

   are other members. The suspension interfered not only with her ability to participate in the social

   life of the community, but with the participation of many other women in the community who are

   her friends as well.

          161.      One illustrative example occurred with a birthday celebration Danielle and several

   friends had planned for one of the women in the community. They organized an exercise class at

   Boca Grove’s gym to be led by one of the club’s trainers. Following the suspension’s extension to

   the entire family, one of the women realized that Danielle would not be allowed on Club property,

   so the women moved the event to one woman’s backyard because it was an available space that

   could accommodate all the guests. They hired an outside trainer that they paid for out-of-pocket—

   which would have been free at the Club’s gym—and attempted to enjoy the event as planned. In




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   the South Florida heat, the event went awry, with at least five of the women unable to continue

   participating due to the brutal weather—including Danielle. Danielle was left embarrassed,

   ashamed, and overwhelmed with guilt for being the reason the women had to change everything

   to accommodate her.

            162.    Another example was when Danielle and Isaac were forced to miss a special

   Shabbat dinner hosted at Boca Grove’s clubhouse the Friday night before Passover started. The

   dinner is one of the largest social and religious events for Orthodox members of the Boca Grove

   community and is meant to help religiously observant Jewish families prepare their homes for the

   Passover holiday. It has been a deeply meaningful event for Isaac and Danielle each year, but they

   were excluded from the event even as all of their friends went because of the Board’s retaliation

   against Isaac.

            163.    The greatest pain of the suspension for Danielle has been the burden of seeing her

   children suffer. As a devoted mother, Danielle has carried the emotional weight of the entire

   family’s torment and isolation. While suffering her own isolation and stress, she has been the one

   to manage the fallout for the children: answering five-year-old H.S.’s confused and distraught

   questions about why he is isolated from his friends and caring for his despondency, comforting

   teenage C.S. and addressing his isolation; and trying to maintain the family’s social relationships

   while they have all has been excluded from the social occasions and activities that the community

   is built around. She has suffered embarrassment, guilt, and shame from the disruptions and

   compromises her friends have endured in going out of their way to include her. She has cried at

   night from the suffering her children are experiencing and the social isolation and humiliation she

   feels.




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           E. Isaac Scharf’s harm from the suspension.

           164.   The suspension has taken a tremendous toll on Isaac as a husband and father forced

   to see his wife and children suffer due to the Board’s backlash against him for being part of a video

   positively depicting Orthodox Jewish life at Boca Grove.

           165.   While Isaac was prepared to deal with the exclusion and isolation the suspension

   would impose on him when it was initially limited only to him and his guests, he was not prepared

   for the same to happen to his beloved wife and children. Seeing his wife and children shamed,

   embarrassed, harassed, and excluded because he wrapped tefillin in a few seconds of a light-

   hearted video has been devastating for Isaac. He has had to watch as the neighborhood he worked

   hard to move his family to so they could live in a strong and welcoming Orthodox community and

   enjoy a good life has turned against him. He has had to see his wife and children suffer as the entire

   family has become collateral damage in Boca Grove’s campaign to make Orthodox Jews

   unwelcome and put in their place.

           166.   Isaac has had to lie to his young son H.S. to try to spare his feelings and keep him

   from fearing Boca Grove as he has cried despondently over being shorn from his friends and

   routine; he has had to watch his teenage son C.S. retreat into silence and isolation; and he has had

   to see his wife endure shame, guilt, and humiliation. He has had sleepless nights and has cried with

   Danielle about the strain the family has had to endure because of the Board’s retaliation against

   him for being visibly Orthodox at Boca Grove. He has had to pretend like everything is fine while

   his family’s sense of peace and belonging in their own home and community has been taken from

   them.




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          F. Edward Scharf’s harm from the suspension.

          167.    Isaac’s young-adult sons Edward and Alex have also been harmed by the

   suspension. They were both scheduled to come back home to visit Isaac and the rest of the family

   prior to and during Passover, but the suspension impaired their visits home.

          168.    Edward, like his brother C.S., is an avid golfer and will golf 36 holes in a day when

   the opportunity arises. He is well-liked and well-regarded within the Boca Grove community and

   has bonded with friends in the community through a shared love of golf. When he came home to

   visit his family in early April 2025, his friends’ parents would not let them associate with him out

   of worry that Boca Grove would retaliate against them. Out of sympathy for the suspension,

   Edward was asked by several other members to golf with them as their guests, but he refused to

   join out of concern that this would violate Boca Grove’s rules and lead to consequences against

   these members for their kindness toward him.

          G. Alex Scharf’s harm from the suspension.

          169.    With Alex, due to the severe disruption to the family’s social life and ability to use

   the amenities they had structured their family routines and communal life around, Isaac and

   Danielle decided that it would make more sense and be more enjoyable for Alex for him to go on

   a short trip with his friends rather than come home sooner. Isaac and Danielle saw how severely

   Edward’s, C.S.’s, and H.S.’s lives were disrupted and harmed by the suspension and decided it

   would be best to spare Alex the same problems by letting him travel with his friends rather than

   come home to the same isolation and exclusion his brothers were facing.




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      IV.      The Scharfs have incurred great financial expense in replacing what the
               suspension has taken from them.

            170.   The Board’s discriminatory suspension has imposed monetary and lifestyle burdens

   on the Scharfs. The fees to belong to Boca Grove are steep—about $40,000 per year—in return

   for which member families are meant to have access to the Club’s gym, pool and dining facilities,

   golf course and tennis courts, playground and play areas for young children, social areas for older

   children, children’s activities, and kosher dining and community events.

            171.   The complete exclusion of all members of the Scharf family from these amenities

   has upended key aspects of their lives, particularly the children’s, which were built around these

   amenities that Isaac works hard to provide. The family has spent significant time, money, and effort

   to find alternatives and cobble together a semblance of what they had before the suspension.

            172.   Isaac and Danielle were both forced to get new gym memberships as they were

   denied access to Boca Grove’s fitness facilities. To approximate the convenience and flexibility

   that the Boca Grove facilities provided, and around which they had structured the family’s

   schedule, Isaac and Danielle each had to join multiple gyms. This was not only a large financial

   expense, but also a large drain on their time and energy, as they now had to restructure their

   schedules and commute to the various gym facilities, whereas before they could travel to and from

   Boca Grove’s gym in less than five minutes.

            173.   Isaac and Danielle have had to find alternative activities for the three children at

   home, C.S., H.S., and R.S., particularly on weekends. Previously, C.S. could join his friends for

   golf or at the teenage social area, H.S. could go to the pool, children’s activities, and community

   events, and R.S. could be taken to the playground and on the swings. Now, none of these activities

   are available to the children.




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          174.    Each weekend and throughout the week, Isaac and Danielle have had to plan around

   where the family could not go instead of where they wanted to go. They have had to find places

   and activities their children could enjoy, and pay for them all out-of-pocket, to maintain some sense

   of normalcy and family fun.

          175.    Isaac and Danielle have had to invent explanations for H.S. for why the family

   cannot attend each holiday, Sunday, and Club event the family is excluded from. They have had to

   field embarrassing questions from friends who did not understand why the family was not showing

   up to community events. They have had to schedule trips and make other plans repeatedly during

   major community and religious events to avoid being home and isolated when they otherwise

   would have joined the rest of the community to protect their children from sadness and confusion.

          176.    The biggest disruption from the suspension came to the family’s Passover plans.

   Passover at Boca Grove is a holiday during which Orthodox members enjoy special events and

   come together as a community, spending large amounts of time enjoying the Club while taking

   time off from work and school. Edward and Alex, after more than a year away from home, were

   scheduled to return and join the rest of the family in celebrating the holiday. But with the

   suspension excluding the entire family from any of the activities and things they would do

   together—golf, the pool, the children’s play areas, the kosher holiday events—Isaac and Danielle

   could not bear the idea of having the older boys home after all their time away only to isolate them

   from the rest of the community and have them be unwelcome in their own neighborhood. Because

   Isaac and Danielle were excluded from their own community during one of the most joyous

   holidays of the year, they booked a last-minute trip to a Passover holiday program in California to

   take their children to just to provide them a place where they could be comfortable and feel




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   included and celebrate the holiday and the older boys’ visit home without issue, at a cost of tens-

   of-thousands of dollars.

          177.    The family had to make similar arrangements for Mother’s Day and Memorial Day.

   For Mother’s Day, the Boca Grove community comes together for a large celebration, in which

   families attend events at the Club and enjoy a day honoring the community’s devoted mothers, like

   Danielle. But instead of joining their friends and community in celebration, the family was

   excluded and had to make alternative plans, going to a water park instead.

          178.    Memorial Day at Boca Grove is one of the biggest celebrations of the year, for all

   members of the community, featuring a kosher barbecue, water slides, games, music, and

   community programming. All of the family’s friends, adults and children alike, would be attending.

   Rather than force their children to stay home and ask why they could not be part of the

   community’s celebration, Isaac and Danielle booked a stay at a resort hotel with water attractions

   to try to replicate what they could of the experience for their children.

          179.    Despite the suspension banning the entire family from all enjoyment of the Club,

   its amenities and community events, and forcing the family to arrange costly alternatives, Isaac

   and Danielle have still been required to pay membership dues to Boca Grove throughout the 90-

   day suspension. The Board stripped the Scharfs of the value of their membership to punish Isaac

   for making Boca Grove look too welcoming to Orthodox Jews while demanding they continue to

   pay full price for the amenities they are excluded from.

          180.    If Isaac and Danielle were to object to the Board’s discrimination against their

   family by withholding their dues during the suspension, Boca Grove would assess large penalty

   fees against them and their membership could be revoked, putting them in a position where they

   would plausibly have to move. As a result, Isaac and Danielle are in the humiliating position of




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   dutifully paying full price to Boca Grove after the Board went out of its way to hurt the entire

   family, including their children, based on their religion.

                                                COUNT I
                                   Fair Housing Act, 42 U.S.C. § 3604
                                        Housing Discrimination

          181.    Plaintiffs repeat and incorporate by reference the allegations in paragraphs 1–180.

          182.    The federal Fair Housing Act (“FHA”) prohibits “discriminatory housing

   practices,” including discrimination “against any person in the terms, conditions, or privileges of

   sale or rental of a dwelling, or in the provision of services or facilities in connection therewith,

   because of race, color, religion, sex, familial status, or national origin.” The Defendant is subject

   to the FHA.

          183.    Boca Grove imposed a 90-day suspension on Plaintiffs to deny them access to Boca

   Grove’s amenities and events for discriminatory reasons. Boca Grove imposed the suspension for

   the explicit discriminatory purpose of punishing Plaintiff Isaac Scharf because the Board viewed

   Jake Adams’ video as making Boca Grove look too Orthodox and too inviting to Orthodox Jews,

   which undermined the efforts of at least some board members to make Boca Grove unwelcoming

   to Orthodox Jews.

          184.    The Board punished Plaintiffs collectively with a 90-day suspension to set an

   example to the Orthodox community as part of its ongoing anti-Orthodox discrimination campaign

   despite Isaac’s conduct not reasonably violating any rules and despite the punishment that was

   imposed being far in excess of Boca Grove’s own guidelines, which prescribed penalizing him

   with a simple warning letter.




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          185.    Each Plaintiff was harmed mentally and emotionally by Boca Grove’s

   discriminatory suspension of the entire family. Each Plaintiff seeks non-economic compensatory

   damages.

          186.    Plaintiffs Isaac and Danielle Scharf were harmed financially by the costs they

   incurred in working around the hardships and disruptions the suspension imposed on their family.

   Plaintiffs Isaac and Danielle seek economic compensatory damages.

                                               COUNT II
                                  Fair Housing Act, 42 U.S.C. § 3617
                        Interference with Enjoyment of Fair Housing Rights

          187.    Plaintiffs repeat and incorporate by reference the allegations in paragraphs 1 - 180.

          188.    The FHA prohibits coercion, intimidation, threats, or interference with any person

   in the exercise or enjoyment of any right to fair housing provided by the FHA, including the right

   to enjoy the benefits of membership in a homeowners’ association without religious

   discrimination. The Defendant is subject to the FHA.

          189.    Boca Grove interfered with Plaintiffs’ right to enjoy their membership in Boca

   Grove free of religious discrimination when it discriminatorily suspended Plaintiffs’ access to Boca

   Grove’s amenities and events as punishment against Plaintiff Isaac Scharf because the Board

   viewed Jake Adams’ video as making Boca Grove look too Orthodox and too inviting to Orthodox

   Jews, which undermined the efforts of at least some board members to make Boca Grove

   unwelcoming to Orthodox Jews.

          190.    The Board punished Plaintiffs collectively with a 90-day suspension to set an

   example to the Orthodox community as part of its ongoing anti-Orthodox discrimination campaign

   despite Isaac’s conduct not reasonably violating any rules and despite the punishment that was




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   imposed being far in excess of Boca Grove’s own guidelines, which prescribed penalizing him

   with a simple warning letter.

          191.    Each Plaintiff was harmed mentally and emotionally by Boca Grove’s

   discriminatory suspension of the entire family. Each Plaintiff seeks non-economic compensatory

   damages.

          192.    Plaintiffs Isaac and Danielle Scharf were harmed financially by the costs they

   incurred in working around the hardships and disruptions the suspension imposed on their family.

   Plaintiffs Isaac and Danielle seek economic compensatory damages.

                                     JURY TRIAL DEMANDED

          Plaintiffs hereby demand a jury trial for all issues so triable.




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                                     PRAYER FOR RELIEF

         Plaintiffs pray and request that a judgment be entered in their favor and against Boca Grove

   awarding them:

         a) Compensatory, consequential, and punitive damages of $50,000,000 in the aggregate;

         b) Attorneys’ fees, the costs of suit, and expenses;

         c) Pre-judgment interest and post-judgment interest at the maximum rate allowable by

             law; and

         d) Such other and further relief as the Court deems just and proper.

                                                      Respectfully submitted,




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